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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MICHAEL KAPLAN,
                                 Plaintiff(s),

                         v.                                          22-CV-9355 (DEH)

 COMEDY PARTNERS,                                             NOTICE OF REASSIGNMENT
                                 Defendant(s).



DALE E. HO, United States District Judge:

       This case has been reassigned to the undersigned. All counsel must familiarize

themselves with the Court’s Individual Practices, which are available at

https://nysd.uscourts.gov/hon-dale-e-ho. Unless and until the Court orders otherwise, all prior

orders, dates, and deadlines shall remain in effect notwithstanding the case’s reassignment.

       Additionally, by October 27, 2023, the parties are hereby ORDERED to file on ECF a

joint letter updating the Court on the status of the case. The joint letter shall provide the

following information, to the extent it is relevant, in separate paragraphs:

       1.       Names of counsel and current contact information, if different from the

                information currently reflected on the docket;

       2.       A brief statement of the nature of the case and/or the principal defenses thereto;

       3.       A brief explanation of why jurisdiction and venue lie in this Court. In any action

                in which subject matter jurisdiction is founded on diversity of citizenship

                pursuant to Title 28, United States Code, Section 1332, the letter must explain the

                basis for the parties’ belief that diversity of citizenship exists. Where any party is

                a corporation, the letter shall state both the place of incorporation and the

                principal place of business. In cases where any party is a partnership, limited
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                partnership, limited liability company, or trust, the letter shall state the

                citizenship of each of the entity’s members, shareholders, partners, and/or

                trustees;

       4.       A statement of all existing deadlines, due dates, and/or cut-off dates;

       5.       A statement of any previously-scheduled conference dates with the Court that

                have not yet occurred and the matters that were to be discussed;

       6.       A brief description of any outstanding motions, including the date of the motion

                and the nature of the relief sought;

       7.       A statement and description of any pending appeals;

       8.       A detailed statement of all discovery undertaken to date, including how many

                depositions each party has taken and what, if any, discovery remains that is

                essential for the parties to engage in meaningful settlement negotiations;

       9.       A brief description of the status of prior settlement discussions, including the

                mediation scheduled on September 19, 2023 (see Doc. 34), without disclosing

                exact offers and demands;

       10.      An estimate of the length of trial; and

       11.      Any other information that the parties believe may assist the Court in advancing

                the case to settlement or trial, including, but not limited to, a description of any

                dispositive or novel issue raised by the case.

       If this case has been settled or otherwise terminated, counsel are not required to submit

such letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or

other proof of termination is filed on the docket prior to the joint letter submission deadline,

using the appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19,

available at http://nysd.uscourts.gov/ecf_filing.php. Requests for extensions or adjournment

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may be made only by letter-motion filed on ECF, and must be received at least two business days

before the deadline or scheduled appearance, absent compelling circumstances. The written

submission must state (1) the original date(s) set for the appearance or deadline(s) and the new

date(s) requested; (2) the reason(s) for the request; (3) the number of previous requests for

adjournment or extension; (4) whether these previous requests were granted or denied; and (5)

whether opposing counsel consents, and, if not, the reasons given by opposing counsel for

refusing to consent.

       The status conference scheduled for December 1, 2023, is ADJOURNED to December

6, 2023, at 11:00 A.M. The conference will be held via Microsoft Teams. The parties should

dial in by calling (646) 453-4442 and entering the Phone Conference ID: 578 260 176, followed

by the pound (#) sign.

       SO ORDERED.

Dated: October 13, 2023
       New York, New York



                                                                        DALE E. HO
                                                                 United States District Judge




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